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                                       UNITED STATES BANKRUPTCY COURT
                                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                               HOUSTON DIVISION                                                      ENTERED
                                                                                                                     09/01/2020


            In re:                                                  Chapter 11

            Neiman Marcus Group LTD LLC, et al. 1                   Case No. 20-32519 (DRJ)

                      Debtors.                                      (Jointly Administered)


                                                ORDER GRANTING
                     PARKINS LEE & RUBIO LLP’S EXPEDITED MOTION TO WITHDRAW
                                AS COUNSEL TO MARBLE RIDGE CAPITAL LP
                                                   (Docket No. 1677)
                     Upon consideration of the Motion to Withdraw as Counsel to Marble Ridge Capital LP

        (the “Motion”) filed by Parkins Lee & Rubio LLP (“PLR”), it is hereby ORDERED that:

                     1.      The Motion to granted.

                     2.      Foley & Lardner LLP is substituted in as counsel of record for Marble Ridge

        Capital LP in the above-captioned matter. PLR is removed as counsel of record for Marble Ridge

        Capital LP and shall be removed from any applicable notice and service lists.

        Dated:Signed:
               August ____,
                      August2020.
                              31, 2020.

                                                                   ____________________________________
                                                               THE DAVID
                                                                   HONORABLE    DAVID R. JONES
                                                                         R. JONES
                                                               UNITED  STATES
                                                                   UNITED      BANKRUPTCY
                                                                           STATES BANKRUPTCY JUDGE
                                                                                               JUDGE




        1
                     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
                     identification number, are: Neiman Marcus Group LTD LLC (9435); Bergdorf Goodman Inc. (5530);
                     Bergdorf Graphics, Inc. (9271); BG Productions, Inc. (3650); Mariposa Borrower, Inc. (9015); Mariposa
                     Intermediate Holdings LLC (5829); NEMA Beverage Corporation (3412); NEMA Beverage Holding
                     Corporation (9264); NEMA Beverage Parent Corporation (9262); NM Bermuda, LLC (2943); NM Financial
                     Services, Inc. (2446); NM Nevada Trust (3700); NMG California Salon LLC (9242); NMG Florida Salon
                     LLC (9269); NMG Global Mobility, Inc. (0664); NMG Notes PropCo LLC (1102); NMG Salon Holdings
                     LLC (5236); NMG Salons LLC (1570); NMG Term Loan PropCo LLC (0786); NMG Texas Salon LLC
                     (0318); NMGP, LLC (1558); The Neiman Marcus Group LLC (9509); The NMG Subsidiary LLC (6074);
                     and Worth Avenue Leasing Company (5996). The Debtors’ service address is: One Marcus Square, 1618
                     Main Street, Dallas, Texas 75201.


4817-0256-1225.1
